8:04-cr-00206-LSC-TDT      Doc # 358   Filed: 09/06/05     Page 1 of 1 - Page ID # 1321




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )            CASE NO. 8:04CR206
                                          )
      vs.                                 )
                                          )                     ORDER
ADAM SOMMER,                              )
                                          )
                   Defendant.             )



      This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Adam Sommer (Filing No. 351).

      For good cause shown, the Motion shall be granted.

      IT IS ORDERED:

      1.     The Unopposed Motion for Continuance of Sentencing Schedule filed by

             the Defendant, Adam Sommer (Filing No. 351) is granted;

      2.     Sentencing is rescheduled before District Judge Laurie Smith Camp on

             the 13th day of October, 2005, at the hour of 2:30 p.m. in Courtroom No.

             2, Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza, Omaha,

             Nebraska.

      Dated this 6th day of September, 2005.

                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               United States District Judge
